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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION

In re:                                          §
                                                §     Chapter 7
         RONALD MCELHANEY,                      §     Case No. 17-40839-EJC
                                                §
               Debtor.                          §


         OBJECTION TO MOTION FOR LEAVE TO SELL PROPERTY FREE AND
              CLEAR OF LIENS PURSUANT TO 11 U.S.C. §§ 363(B) and (F)
                     AND REQUEST TO DEFER FILING FEE


         COMES NOW Patricia Emrich (“Ms. Emrich”), through counsel, and files this Objection

to the Trustee’s Motion for Leave to Sell Property Free and Clear of Liens Pursuant to 11 U.S.C.

§§ 363(b) and (f) and Bankruptcy Rules 6004(c) and 9014 with the Court as follows:

         1.    The Debtor filed a Voluntary Petition for relief under Chapter 7 of the United

               States Code on June 6, 2017.

         2.    Plaintiff, Tiffany E. Caron, is the duly appointed bankruptcy trustee in the above-

               captioned Chapter 7 case.

         3.    The Debtor (now deceased) is the joint owner of real estate located at 526 E. 46th

               Street, Savannah, GA 31405 (the “Property”).

         4.    The Trustee filed an Adversary Proceeding against Ms. Emrich, the Joint Owner

               of the Property, alleging that Ms. Emrich gained an interest in the Property by

               way of a fraudulent transfer on the part of the Debtor.

         5.    The Trustee and Ms. Emrich, through counsel, resolved the Adversary Proceeding

               by an agreement on terms as follows:




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            The Parties have agreed that the Trustee will market the Property

            for sale and that the Parties will split the Net Proceeds (Net

            Proceeds are: the funds remaining after payment of real estate

            commission, pro-rated property taxes, seller’s closing costs,

            secured debts and liens) as follows:

               A. Patricia Emrich shall receive thirty percent (30%) of the

                   Net Proceeds of the sale of the Property at closing.

               B. In consideration for the forgoing, Ms. Emrich shall

                   cooperate in the listing, marketing, showing and sale of the

                   Property.

               C. Ms. Emrich shall keep the Property in reasonably good,

                   showable condition and shall allow reasonable access to the

                   Property for potential buyers and their agents.

               D. Ms. Emrich may use the Property as her residence until

                   closing.

               E. Ms. Emrich consents to the attached order, subject to the

                   forgoing settlement terms.

               F. Ms. Emrich shall sign any documents necessary to facilitate

                   the closing of any sale of the Property.

               G. By agreement of the Parties, the remaining seventy percent

                   (70%) of the Net Proceeds of any sale of the Property shall

                   be paid to the Trustee for the benefit of the bankruptcy

                   estate.




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      6.    An Order was entered permitting the Trustee to sell the property subject to the

            agreement as set forth above, which contemplated a split of the net proceeds as

            defined above (See Order at Doc. No. 55). Hereinafter, the agreement set forth

            above and adopted at Order, Doc. No. 55, shall be referred to as the “Adversary

            Consent Order.” A true and correct copy of the Adversary Consent Order is

            attached hereto as Exhibit “A.”

      7.    According to her Motion, the Trustee desires to sell the Property: 526 E. 46th St.,

            Savannah, GA 31405, to Michael and Jennifer Krzmarzick (“Purchasers”), for

            $425,000.00, with the sale to close on or around June 15, 2018, or by extension as

            agreed to by the parties.

      8.    The Trustee’s proposed distribution of sale proceeds as outlined in her Motion is

            in violation of the Adversary Consent Order.

      9.    The Adversary Consent Order requires that Ms. Emrich be paid thirty percent

            (30%) of the net funds after payment of secured and administrative claims.

      10.   The Trustee’s calculation for her proposed distribution includes a $40,000

            reduction in equity-line payoff. This reduction in equity-line payoff is, at this

            time, merely a proposal and has not been expressly approved by the creditor;

            however, the Trustee’s proposed distribution schedule presumes the reduction is

            granted.

      11.   The $40,000 reduction in equity-line payoff will increase the net funds available

            for distribution. The Trustee’s motion improperly characterizes a creditor’s

            tentative write-off of $40,000 as an expense of the sale.




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       12.       Pursuant to the express terms of the Adversary Consent Order, Ms. Emrich is to

                 receive 30% of the net proceeds of the sale, where “net proceeds” are defined as

                 “the funds remaining after payment of real estate commission, pro-rated property

                 taxes, seller’s closing costs, secured debts and liens.” See Ex. “A.”

       13.       The $40,000 equity-line reduction is a reduction in the secured debts on the

                 property.

       14.       The Trustee’s Motion proposes a distribution of net proceeds to Ms. Emrich that

                 ignores the net proceeds attributable to the debt reduction. The Trustee cannot

                 unilaterally determine that a certain portion of the net proceeds are not subject to

                 the terms of the Adversary Consent Order.

       15.       If the creditor agrees to write-off any portion of the secured debt, the same must

                 be factored into the proposed distribution to reflect the corresponding increase in

                 net proceeds to be distributed to Ms. Emrich.

       16.       Ms. Emrich has, at this point, lost her companion to death and her home to the

                 Trustee’s Adversary petition. She is not in a position to lose, to the Trustee’s

                 creative mathematics, the small proceeds from the sale of this home to which she

                 is rightfully entitled by Order of this Court.

WHEREFORE, the Adversary Defendant, Ms. Emrich, respectfully requests the following relief:

       (a) That the Court would enter an Order denying the Trustee’s Motion;

       (b) That Adversary Defendant be awarded its reasonable attorneys’ fees and costs

             expended; and

       (c) Any and all other relief to which Adversary Defendant may reasonably appear

             entitled.




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      This 4th day of June, 2018.

                                          /s/ Keri M. Martin
                                          KERI M. MARTIN
                                          Georgia State Bar No. 769803

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